                                                                                 027,21*5$17('


                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )           NO. 3:13-cr-65
                                               )           JUDGE SHARP
                                               )
JAMES R. RUSSELL                               )

                            MOTION TO UNFILE
              DOCKET ENTRIES 171, 172 AND 173 (FILED UNDER SEAL)

       Comes James R. Russell, through counsel and moves the court to unfile Docket Entries

171, 172 and 173 (filed under seal). These pleadings were titled similarly to pleadings intended

to be filed in the above matter, and were inadvertently filed in this case because of the similarity

in naming protocol that is used by undersigned counsel.

       Counsel regrets this inadvertent filing mishap.


                                              Respectfully submitted,

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